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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


DAVID GILMOUR MUSIC LTD.,
                                                          Case No.: 1:18-cv-07014
       Plaintiff,
                                                          Judge Gary Feinerman
v.
                                                          Magistrate Judge Maria Valdez
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                           PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on David Gilmour Music Ltd. (“DGML” or

 “Plaintiff”) Motion for a Preliminary Injunction, and this Court having heard the evidence before

 it hereby GRANTS Plaintiffs’ Motion for Entry of a Preliminary Injunction in its entirety against

 the defendants identified in Schedule A attached hereto (collectively, the “Defendants”).

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants

 since the Defendants directly target their business activities toward consumers in the United

 States, including Illinois. Specifically, Defendants are reaching out to do business with Illinois

 residents by operating one or more commercial, interactive Internet Stores through which Illinois

 residents can purchase products bearing infringing and/or counterfeit versions of Plaintiff’s

 DAVID GILMOUR Trademark (the “Counterfeit DAVID GILMOUR Products”).

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

 Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

 litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

 Procedure 65. Evidence submitted in support of this Motion and in support of Plaintiff’s

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previously granted Motion for a Temporary Restraining Order establishes that Plaintiff has a

likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer

irreparable harm if the injunction is not granted.

        Specifically, Plaintiff has proved a prima facie case of trademark infringement because

(1) the DAVID GILMOUR Trademark is a distinctive mark and registered with the U.S. Patent

and Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to

use any of the DAVID GILMOUR Trademark, and (3) Defendants’ use of the DAVID

GILMOUR Trademark are causing a likelihood of confusion as to the origin or sponsorship of

Defendants’ products with DGML. Furthermore, Defendants’ continued and unauthorized use

of the DAVID GILMOUR Trademark irreparably harms Plaintiff through diminished goodwill

and brand confidence, damage to Plaintiff’s reputation, loss of exclusivity, and loss of future

sales. Monetary damages fail to address such damage and, therefore, Plaintiff has an

inadequate remedy at law. Moreover, the public interest is served by entry of this Preliminary

Injunction to dispel the public confusion created by Defendants’ actions. Accordingly, this Court

orders that:

1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under or in active concert with them be

        temporarily enjoined and restrained from:

         a. using Plaintiff's DAVID GILMOUR or any reproductions, counterfeit copies

               or colorable imitations thereof in any manner in connection with the

               distribution, marketing, advertising, offering for sale, or sale of any product

               that is not a genuine DAVID GILMOUR product or not authorized by




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        Plaintiff to be sold in connection with Plaintiff 's DAVID GILMOUR

        Trademark;

   b.   passing off, inducing, or enabling others to sell or pass off any product as a

        genuine DAVID GILMOUR product or any other product produced by

        Plaintiff, that is not Plaintiff's or not produced under the authorization,

        control or supervision of Plaintiff and approved by Plaintiff for sale under

        Plaintiff's DAVID GILMOUR Trademark;

   c.   committing any acts calculated to cause consumers to believe that Defendants'

        products are those sold under the authorization, control or supervision of

        Plaintiff, or are sponsored by, approved by, or otherwise connected with

        Plaintiff;

   d.   further infringing Plaintiff's DAVID GILMOUR Trademark and damaging

        Plaintiff's goodwill;

   e.   otherwise competing unfairly with Plaintiff in any manner;

   f.   shipping, delivering, holding for sale, transferring or otherwise moving,

        storing, distributing, returning, or otherwise disposing of, in any manner,

        products or inventory not manufactured by or for Plaintiff, nor authorized by

        Plaintiff to be sold or offered for sale, and which bear any of Plaintiff's

        DAVID GILMOUR Trademark or any reproductions, counterfeit copies or

        colorable imitations thereof;

   g.   using, linking to, transferring, selling, exercising control over, or otherwise

        owning the Online Marketplace Accounts, the Defendant Domain Names, or

        any other domain name or online marketplace account that is being used to


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             sell or is the means by which Defendants could continue to sell Counterfeit

             DAVID GILMOUR Products; and

        h.   operating and/or hosting websites at the Defendant Domain Names and any

             other domain names registered or operated by Defendants that are involved

             with the distribution, marketing, advertising, offering for sale, or sale of any

             product bearing Plaintiff's DAVID GILMOUR Trademark or any

             reproductions, counterfeit copies or colorable imitations thereof that is not a

             genuine DAVID GILMOUR product or not authorized by Plaintiff to be sold

             in connection with Plaintiff's DAVID GILMOUR Trademark.

2.      Each Defendant, within fourteen (14) days after receiving notice of this Order, shall serve

        upon Plaintiff a written report under oath providing: (a) their true name and physical

        address, (b) all websites and online marketplace accounts on any platform that they own

        and/or operate (c) their financial accounts, including all PayPal and WISH accounts, and

        (d) the steps taken by each Defendant to comply with paragraph 1, a through h, above.

3.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, within three (3) business days of receipt of this Order or prior to

        expiration of this Order, whichever date shall occur first, shall, at Plaintiff's choosing:

             a. unlock and change the registrar of record for the Defendant Domain

                Names to a registrar of Plaintiff's selection until further ordered by this

                Court, and the domain name registrars shall take any steps necessary to

                transfer the Defendant Domain Names to a registrar of Plaintiff's

                selection until further ordered by this Court; or


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            b. disable the Defendant Domain Names and make them inactive and

                untransferable until further ordered by this Court.

4.      Those in privity with Defendants and with actual notice of this Order, including any

        online marketplaces such as iOffer and Alibaba Group Holding Ltd., Alipay.com Co.,

        Ltd. and any related Alibaba entities (collectively, "Alibaba"), social media platforms,

        Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and

        Yahoo, web hosts for the Defendant Domain Names, and domain name registrars, shall

        within three (3) business days of receipt of this Order:

            a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using

                the DAVID GILMOUR Trademark, including any accounts associated

                with the Defendants listed on Schedule A;

            b. disable and cease displaying any advertisements used by or associated

                with Defendants in connection with the sale of counterfeit and infringing

                goods using the DAVID GILMOUR Trademark; and

            c. take all steps necessary to prevent links to the Defendant Domain Names

                identified on Schedule A from displaying in search results, including, but

                not limited to, removing links to the Defendant Domain Names from any

                search index.

5.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of Defendants' websites at the

        Defendant Domain Names or other websites operated by Defendants, including, without

        limitation, any online marketplace platforms such as iOffer and Alibaba, advertisers,


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   Facebook, Internet Service Providers ("ISP"), web hosts, back-end service providers, web

   designers, sponsored search engine or ad-word providers, banks, merchant account

   providers, including PayPal, WISH, Amazon and Alipay, Alibaba, Western Union, third

   party processors and other payment processing service providers, shippers, and domain

   name registrars (collectively, the "Third Party Providers") shall, within five (5) business

   days after receipt of such notice, provide to Plaintiff expedited discovery, including

   copies of all documents and records in such person's or entity's possession or control

   relating to:

       a. The identities and locations of Defendants, their agents, servants,

           employees, confederates, attorneys, and any persons acting in concert or

           participation with them, including all known contact information;

       b. the nature of Defendants' operations and all associated sales and financial

           information, including,    without   limitation,   identifying   information

           associated with the Online Marketplace Accounts, the Defendant Domain

           Names, and Defendants' financial accounts, as well as providing a full

           accounting of Defendants' sales and listing history related to their

           respective Online Marketplace Accounts and Defendant Domain Names;

       c. Defendants' websites and/or any Online Marketplace Accounts;

       d. The Defendant Domain Names or any domain name registered by

           Defendants; and

       e. Any financial accounts owned or controlled by Defendants, including their

           agents, servants, employees, confederates, attorneys, and any persons

           acting in concert or participation with them, including such accounts


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               residing with or under the control of any banks, savings and loan

               associations, payment processors or other financial institutions, including,

               without limitation, PayPal, WISH, Amazon, Alipay, Alibaba, Western

               Union, or other merchant account providers, payment providers, third

               party processors, and credit card associations (e.g., MasterCard and

               VISA).

6.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be temporarily restrained and enjoined from transferring or

        disposing of any money or other of Defendants' assets until further ordered by this Court.

7.      Western Union shall, within two (2) business days of receipt of this Order, block any

        Western Union money transfers and funds from being received by the Defendants

        identified in Schedule A until further ordered by this Court.

8.      PayPal, Inc. ("PayPal") and ContextLogic, Inc. (“WISH”) shall, within two (2) business

        days of receipt of this Order, for any Defendant or any of Defendants' Online

        Marketplace Accounts or websites:

         a. Locate all accounts and funds connected to Defendants, Defendants' Online

            Marketplace Accounts or Defendants' websites, including, but not limited to,

            any PayPal and WISH accounts connected to the information listed in Schedule

            A hereto and the email addresses identified in Exhibit 2 to the Declaration of

            Thomas Schlegel; and

          b. Restrain and enjoin any such accounts or funds that are Asia based from

            transferring or disposing of any money or other of Defendants' assets until

            further ordered by this Court.


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9.       Any banks, savings and loan associations, payment processors, or other financial

         institutions, for any Defendant or any of Defendants' Online Marketplace

         Accounts or websites, shall within two (2) business days of receipt of this Order:

             a. Locate all accounts and funds connected to Defendants, Defendants' Online

             Marketplace Accounts or Defendants' websites, including, but not limited to,

             any accounts connected to the information listed in Schedule A hereto and

             the email addresses identified in Exhibit 2 to the Declaration of Thomas

             Schlegel; and

           b. Restrain and enjoin such accounts from receiving, transferring or disposing of

             any money or other of Defendants' assets until further ordered by this Court.

10.       Plaintiff may provide notice of these proceedings to Defendants, including notice

         of the preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P.

         4(f)(3), by electronically publishing a link to the Complaint, this Order and other relevant

         documents on a website to which the Defendant Domain Names which are transferred to

         Plaintiff's control will redirect, or by sending an e-mail to the e-mail addresses identified

         in Exhibit 2 to the Declaration of Thomas Schlegel and any e-mail addresses provided for

         Defendants by third parties that includes a link to said website. The Clerk of Court is

         directed to issue a single original summons in the name of “AMESION PRINTING Store

         and all other Defendants identified in the Complaint" identified in Complaint Schedule A

         that shall apply to all Defendants. The combination of providing notice via electronic

         publication or e-mail, along with any notice that Defendants receive from domain name

         registrars and payment processors, shall constitute notice reasonably calculated under all




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       circumstances to apprise Defendants of the pendency of the action and afford them the

       opportunity to present their objections.

 11.   Any Defendants that are subject to this Order may appear and move to dissolve or modify

 the Order on two days' notice to Plaintiff or on shorter notice as set by this Court.

12.    The $10,000 bond posted by Plaintiff shall remain with the Court until a Final disposition

       of this case or until this Preliminary Injunction is terminated.



Dated: 11/7/2018


                                       _____________________________________
                                       U.S. District Court Judge




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                                SCHEDULE A

           No                        Defendants
           1    alfiano
           2    blackinora
           3    ezgionin-0
           4    ismaihada-0
           5    lyshop007-6
           6    muniarwa_0
           7    snore_sleep
           8    taver604
           9    zhoushenglong2017
           10   Shop4382085 Store
           11   Suprer Guitar Club Store
           12   WishShape TeeZone Store
           13   2014idmad
           14   adinugroh-0
           15   ahmamustaja0
           16   ajiren_89
           17   alice_iced
           18   amandareka
           19   anggrohma-0
           20   babette_bros
           21   bawoamb0
           22   bear_biggest
           23   buyforcase
           24   crazy-888
           25   dariusimanjunta-0
           26   digpraman0
           27   ek.ek38
           28   estemeje
           29   exsabagu_0
           30   faizuatik-0
           31   flyin_boltz
           32   gandsuryan_0
           33   gaoaihua1121
           34   glad_happy
           35   gruduk_gruduk
           36   gugu_danz
           37   hasay12
           38   hise.tee


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           39   id.bill
           40   ima-perm
           41   jacob_alex
           42   jasonwie
           43   jiajiayi456
           44   jianyuyu123
           45   jodsukar.store
           46   jomke_to
           47   kari-bacht
           48   khoirunis-0
           49   musicapollo8
           50   nang.nango
           51   noprkurni_0
           52   nuaid_7
           53   nurusit
           54   padangrumput
           55   perfectmelody
           56   reinshop85
           57   renik-98
           58   riminzhan
           59   shock_gear
           60   stvamarta
           61   theramzak
           62   thundergt78
           63   tradepo990deal
           64   trading_enterprise17
           65   tunid72
           66   usernihas_0
           67   yukihira.souma
           68   City fashion clothes
           69   zhongyifushi




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